              Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 1 of 49




 1

 2

 3

 4

 5
                                 UNITED STATES DISTRICT COURT
 6                              WESTERN DISTRICT OF WASHINGTON
                                       SEATTLE DIVISION
 7
      HOLLY RYDMAN, individually and on
 8    behalf of a class of similarly situated           No.
      individuals,
 9                                                      CLASS ACTION COMPLAINT
                                      Plaintiff,
10
              v.                                        JURY TRIAL DEMANDED
11
      CHAMPION PETFOODS USA, INC., a
12    Delaware corporation, and CHAMPION
      PETFOODS LP, a Canadian limited
13    partnership,
14                                    Defendants.
15                                       I.        INTRODUCTION
16          1.        Plaintiff Holly Rydman, individually and on behalf of all others similarly
17   situated, by and through her undersigned attorneys, bring this Class Action Complaint against
18   Defendants Champion Petfoods USA, Inc. and Champion Petfoods LP (“Defendants”), for their
19   negligent, reckless, and/or intentional practice of misrepresenting and failing to fully disclose
20   the presence of heavy metals and toxins in their pet food sold throughout the United States.
21   Plaintiff seeks both injunctive and monetary relief on behalf of the proposed Class (defined
22   below), including requiring full disclosure of all such substances in Defendants’ marketing,
23   advertising, and labeling and restoring monies to the members of the proposed Class. Plaintiff
24   alleges the following based upon personal knowledge as well as investigation by her counsel
25   and as to all other matters, upon information and belief. Plaintiff believes that substantial
26   evidentiary support will exist for the allegations set forth herein after a reasonable opportunity
27   for discovery.



      CLASS ACTION COMPLAINT - 1
             Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 2 of 49



     A.     Defendants Market Themselves As Only Selling Premium Dog Food With The
 1          Simple Mission Of “To Be Trusted By Pet Lovers”
 2          2.      Defendants manufacture, market, advertise, label, distribute, and sell pet food
 3   under the brand names Acana and Orijen throughout the United States, including in this District.
 4          3.      Defendants have created a niche in the pet food market by “making biologically
 5   ‘appropriate’ pet food- as close to what animals would eat in nature as possible- and producing
 6   it using fresh, natural ingredients…” They then charge a premium for this purportedly higher-
 7   quality food. The founder of the company, Peter Muhlenfeld, said, “Our core family beliefs are
 8   [] entrenched in the company, and that is to make the very best food.”
 9          4.      Defendants tout that “Biologically Appropriate™ ORIJEN represents a new class
10   of food, designed to nourish dogs and cats according to their evolutionary adaptation to a diet
11   rich and diverse in fresh meat and protein[]” and that it is “trusted by pet lovers everywhere.”
12          5.      Defendants’ packaging and labels further emphasize fresh, quality, and properly
13   sourced ingredients and even declares their dog food has “ingredients we love”:
14

15

16

17

18
19

20

21

22

23

24

25

26

27



      CLASS ACTION COMPLAINT - 2
             Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 3 of 49




 1          6.     Yet nowhere in the labeling, advertising, statements, warranties and/or
 2   packaging do Defendants disclose that the Contaminated Pet Foods (defined herein) contain
 3   levels of arsenic, mercury, lead, cadmium and/or BISPHENOL A (“BPA”) — all known to pose
 4   health risks to humans and animals, including dogs:
 5
                               arsenic ug      bpa ug      cadmium        mercury      lead ug per
 6       Product Name
                                 per kg        per kg      ug per kg      ug per kg         kg
 7    Acana Regionals           3256.40         32.50       113.00          51.20         249.30
      Wild Atlantic New
 8    England Fish and
      Fresh Greens Dry
 9    Dog Food
10    Orijen Six Fish With      3169.80        39.50         200.50         54.90            38.70
      New England
11    Mackerel, Herring,
      Flounder, Redfish,
12    Monkfish, Silver
      Hake Dry Dog Food
13
      Orijen Original            907.60         0.00         93.20          10.80            489.80
14    Chicken, Turkey,
      Wild-Caught Fish,
15    Eggs Dry Dog Food
      Orijen Regional Red        849.40        43.60         123.10         21.40            167.70
16    Angus Beef, Boar,
17    Goat, Lamb, Pork,
      Mackerel Dry Dog
18    Food
      Acana Regionals            846.40        82.70         37.50          8.70             489.00
19    Meadowland with
      Poultry, Freshwater
20
      Fish and Eggs Dry
21    Dog Food
      Acana Regionals            358.20        82.90         32.50          14.90            336.70
22    Appalachian Ranch
      with Red Meats and
23    Freshwater Catfish
24    Dry Dog Food
      Acana Regionals            262.80         0.00         30.60          9.60             305.00
25    Grasslands with
      Lamb, Trout, and
26    Game Bird Dry Dog
      Food
27



      CLASS ACTION COMPLAINT - 3
           Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 4 of 49



                             arsenic ug   bpa ug   cadmium     mercury     lead ug per
 1      Product Name
                               per kg     per kg   ug per kg   ug per kg        kg
 2   Orijen Regional Red      1066.50      37.70     62.10       21.70        138.50
     Angus Beef, Ranch
 3   Raised Lamb, Wild
     Boar, Pork, Bison
 4   Dry Dog Food
 5   Acana Singles Duck       523.40      102.70    30.90       15.40        537.40
     and Pear Formula
 6   Dry Dog Food
     Acana Singles Lamb       401.20      73.20     35.00        3.20        423.40
 7   and Apple Formula
     Dry Dog Food
 8
     Acana Heritage Free-     292.90      62.20     27.80        3.30        290.20
 9   Run Poultry Formula
     Dry Dog Food
10   Acana Heritage           977.70       0.00     56.20       27.40        486.80
     Freshwater Fish
11   Formula Dry Dog
12   Food
     Orijen Tundra Freeze      23.13       6.02     27.64        5.35        12.26
13   Dried Venison, Elk,
     Bison, Quail,
14   Steelhead Trout Wet
     Dog Food
15
     Orijen Adult Dog          23.21      13.41      7.74        9.45         7.33
16   Freeze Dried
     Chicken, Turkey,
17   Wild-Caught Fish,
     Eggs Wet Dog Food
18   Orijen Regional Red      102.66       0.00     23.40       19.60        16.85
19   Freeze Dried Angus
     Beef, Ranch Raised
20   Lamb, Wild Boar,
     Pork, Bison Wet Dog
21   Food
     Orijen Six Fish Wild-    2173.90     39.70     92.20       58.80        55.10
22
     Caught Regional
23   Saltwater and
     Freshwater Fish Dry
24   Dog Food
     Orijen Tundra Goat,      1628.50     40.30     134.50      43.60        471.80
25   Venison, Mutton,
26   Bison, Arctic Char,
     Rabbit Dry Dog Food
27



     CLASS ACTION COMPLAINT - 4
             Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 5 of 49



                                arsenic ug      bpa ug        cadmium        mercury      lead ug per
 1       Product Name
                                  per kg        per kg        ug per kg      ug per kg         kg
 2    Orijen Grain Free           791.20         32.20          87.20          12.20         490.80
      Puppy Chicken,
 3    Turkey, Wild-Caught
      Fish, Eggs Dry Dog
 4    Food
 5    Acana Singles                 1510.70      40.10         112.20          29.60          251.10
      Mackerel and Greens
 6    Formula Dry Dog
      Food
 7    Acana Heritage                384.80       58.30          24.40           6.40          1731.90
      Meats Formula Dry
 8
      Dog Food
 9    Acana Singles Pork            373.70       57.60          25.60           4.00          329.60
      and Squash Formula
10    Dry Dog Food
11
            7.      Defendants warrant, promise, represent, label and/or advertise that the
12
     Contaminated Pet Foods are free of any heavy metals and/or chemicals like BPA by assuring the
13
     food represents an evolutionary diet that mirrors that of a wolf – free of anything “nature did not
14
     intend for your dog to eat:”
15

16

17

18
19

20

21

22

23

24

25

26

27



      CLASS ACTION COMPLAINT - 5
              Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 6 of 49




 1          8.       Defendants assert that: “Virtually All Of The Nutrients In Acana Are Natural
 2   And Not Synthetic.” Defendants make a similar claim to the Orijen Dog Foods in maintaining
 3   that that the main source of any nutrient in Orijen is from a natural source.
 4          9.       Defendants further warrant, promise, represent, advertise and declare that the
 5   Contaminated Dog Foods are made with protein sources that are “Deemed fit for human
 6   consumption:”
 7

 8

 9

10

11

12

13

14

15

16

17

18   B.     The Inclusion Of Heavy Metals, BPA And Any Other Chemicals At Any Level
            Would Be Material To A Reasonable Consumer Based On The Inherent And
19          Known Risks Of Consumption And/Or Exposure
20          1.     Heavy Metals
21          10.      Based on the risks associated with exposure to higher levels of arsenic, both the
22   U.S. Environmental Protection Agency (“EPA”) and U.S. Food and Drug Administration
23   (“FDA”) have set limits concerning the allowable limit of arsenic at 10 parts per billion (“ppb”)
24   for human consumption in apple juice (regulated by the FDA) and drinking water (regulating by
25   the EPA).
26          11.      Moreover, the FDA is considering limiting the action level for arsenic in rice
27   cereals for infants to 100 ppb.



      CLASS ACTION COMPLAINT - 6
              Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 7 of 49




 1          12.     The Contaminated Dog Foods also contain lead, which is another carcinogen and
 2   developmental toxin known to cause health problems. Exposure to lead in food builds up over
 3   time. Buildup can and has been scientifically demonstrated to lead to the development of
 4   chronic poisoning, cancer, developmental, and reproductive disorders, as well as serious injuries
 5   to the nervous system, and other organs and body systems.
 6          13.     The Contaminated Dog Foods also contain mercury, which can cause damage to
 7   the cardiovascular system, nervous system, kidneys, and digestive tract in dogs. Continued
 8   exposure can also injure the inner surfaces of the digestive tract and abdominal cavity, causing
 9   lesions and inflammation. There have also been reports of lesions in the central nervous system
10   (spinal cord and brain), kidneys, and renal glands.
11          14.     Finally, the Contaminated Dog Foods contain cadmium, which has been
12   observed to cause anemia, liver disease, and nerve or brain damage in animals eating or drinking
13   cadmium. The U.S. Department of Health and Human Services has determined that cadmium
14   and cadmium compounds are known human carcinogens and the EPA has likewise determined
15   that cadmium is a probable human carcinogen.
16          15.     Indeed, the FDA has acknowledged that “exposure to [these four heavy] metals
17   are likely to have the most significant impact on public health” and has prioritized them in
18   connection with its heavy metals workgroup looking to reduce the risks associated with human
19   consumption of heavy metals.
20          16.     Despite the known risks of exposure to these heavy metals, Defendants have
21   negligently, recklessly, and/or knowingly sold the Contaminated Dog Foods without disclosing
22   they contain levels of arsenic, mercury, cadmium and lead to consumers like Plaintiff. Indeed,
23   Defendants have publicly acknowledged that consumers “have deep feelings and a sense of
24   responsibility for the well-being of their dogs and cats."
25          17.     Moreover, Defendants own actions show their knowledge that a reasonable
26   consumer would care about the inclusion of heavy metals as they specifically addressed this
27



      CLASS ACTION COMPLAINT - 7
                 Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 8 of 49




 1   concern on its website by touting that they require their suppliers “provide heavy metals and
 2   mercury test results, for which we also test our final food products.”1
 3             18.      Additionally, Defendants knew or should have been aware that a consumer
 4   would be feeding the Contaminated Dog Foods multiple times each day to his or her dog,
 5   making it the main, if not only, source of food for the dog. This leads to repeated exposure of
 6   the heavy metals to the dog.
 7             19.      Defendants have wrongfully and misleadingly advertised and sold the
 8   Contaminated Dog Foods without any label or warning indicating to consumers that these
 9   products contain heavy metals, or that these toxins can over time accumulate in the dog’s body
10   to the point where poisoning, injury, and/or disease can occur.
11             20.      Defendants’ omissions are material, false, misleading, and reasonably likely to
12   deceive the public. This is true especially in light of the long-standing campaign by Defendants
13   to market the Contaminated Dog Foods as healthy and safe to induce consumers, such as
14   Plaintiff, to purchase the products. For instance, Defendants market the Contaminated Dog
15   Foods as “Biologically Appropriate,” using “Fresh Regional Ingredients” comprised of 100
16   percent meat, poultry, fish, and/or vegetables, both on the products’ packaging and on
17   Defendants’ websites.
18              21.     Moreover, Defendants devote significant web and packaging space to the
19   marketing of their DogStar® Kitchens, which they tell consumers “are the most advanced pet
20   food kitchens on earth, with standards that rival the human food processing industry.”
21             22.      Defendants state on their website that the Orijen pet foods “feature[] unmatched
22   and unique inclusions of meat, naturally providing everything your dog or cat needs to thrive.”
23   Defendants further promise on the products’ packaging and on its website that its Orijen and
24   Acana foods are “guaranteed” to “keep your dog happy, healthy, and strong.”
25             23.      Using such descriptions and promises makes Defendants' advertising campaign
26   deceptive based on presence of heavy metals in the Contaminated Dog Foods. Reasonable
27
     1
         https://doodlekisses.com/forum/topics/keeping-my-dog-on-an-orijen-six-fish-diet?groupUrl=thefoodgroup



         CLASS ACTION COMPLAINT - 8
             Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 9 of 49




 1   consumers, like Plaintiff, would consider the mere inclusion of heavy metals in the
 2   Contaminated Dog Foods as a material fact in considering what pet food to purchase.
 3   Defendants' above-referenced statements, representations, partial disclosures, and omissions are
 4   false, misleading, and crafted to deceive the public as they create an image that the
 5   Contaminated Dog Foods are healthy, safe, and free of contaminants such as arsenic and lead.
 6   Moreover, Defendants knew or should have reasonably expected that the presence of heavy
 7   metals in its Contaminated Dog Foods is something an average consumer would consider in
 8   purchasing dog food. Defendants' representations and omissions are false, misleading, and
 9   reasonably likely to deceive the public.
10          24.     Moreover, a reasonable consumer, such as Plaintiff and other members of the
11   Class (as defined herein), would have no reason to not believe and/or anticipate that the
12   Contaminated Dog Foods are "“Biologically Appropriate” foods that use “Fresh Regional
13   Ingredients” consisting only of meat, poultry, fish, and vegetables. Non-disclosure and/or
14   concealment of the toxins in the Contaminated Dog Foods coupled with the misrepresentations
15   alleged herein by Defendants suggesting that the food provides complete health and is safe is
16   intended to and does, in fact, cause consumers to purchase a product Plaintiff and members of
17   the Class would not have bought if the true quality and ingredients were disclosed. As a result
18   of these false or misleading statements and omissions, Defendants have generated substantial
19   sales of the Contaminated Dog Foods.
20          25.     The expectations of reasonable consumers and deception of these consumers by
21   Defendants’ advertising, misrepresentations, packaging and labeling is further highlighted by
22   the public reaction to this lawsuit as reported by various websites.
23          26.     Plaintiff bring this action individually and on behalf of all other similarly situated
24   consumers within Washington State who purchased the Contaminated Dog Foods, in order to
25   cause the disclosure of the presence of heavy metals that pose a known risk to both humans and
26   animals in the Contaminated Dog Foods, to correct the false and misleading perception
27   Defendants have created in the minds of consumers that the Contaminated Dog Foods are high



      CLASS ACTION COMPLAINT - 9
             Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 10 of 49




 1   quality, safe, and healthy and to obtain redress for those who have purchased the Contaminated
 2   Dog Foods.
 3          2.     Bisphenal A (“BPA”)
 4          27.     The dangers of BPA in human food are recognized by the FDA, along with
 5   various states. For instance, manufacturers and wholesalers are prohibited from selling any
 6   childrens’ products that contain BPA and any infant formula, baby food, or toddler food stored
 7   in containers with intentionally added BPA
 8          28.     Still, certain Contaminated Dog Foods are sold by Defendants that contain levels
 9   of BPA—an industrial chemical that “‘is an endocrine disruptor. It’s an industrial chemical that
10   according to Medical News Today’ . . . interferes with the production, secretion, transport,
11   action, function and elimination of natural hormones.’” BPA has been linked to various health
12   issues, including reproductive disorders, heart disease, diabetes, cancer, and neurological
13   problems.
14          29.     Despite the presence of this harmful chemical, Defendants prominently warrant,
15   claim, feature, represent, advertise, or otherwise market the Contaminated Dog Foods as made
16   from “Biologically Appropriate” and “Fresh Regional Ingredients” consisting entirely of fresh
17   meat, poultry, fish, and vegetables. Indeed, each bag prominently displays the percentage of
18   these ingredients on the front.
19          30.     Defendants’ website and packaging also warrants, claims, features, represents,
20   advertises, or otherwise markets that its products are natural. In fact, Orijen’s slogan is “Nourish
21   as Nature Intended.”
22

23

24

25

26

27



      CLASS ACTION COMPLAINT - 10
             Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 11 of 49




 1          31.     In promoting their promise, warranty, claim, representation, advertisement, or
 2   otherwise marketing that the Contaminated Dog Foods are safe and pure, Defendants further
 3   assure their customers:
 4                 Equipped with state-of-the-art fresh food processing technologies,
                   our DogStar® kitchens feature 25,000 square feet of cooler space,
 5                 capable of holding over 500,000 pounds of fresh local meats, fish
                   and poultry, plus fresh whole local fruits and vegetables.
 6
                   Unmatched by any pet food maker, our ingredients are deemed fit
 7                 for human consumption when they arrive at our kitchens fresh,
                   bursting with goodness, and typically within 48 hours from when
 8                 they were harvested.
 9          32.     To this end, Defendants’ websites further warrant, claim, feature, represent,
10   advertise, or otherwise market that the Contaminated Dog Foods are manufactured in such a
11   way that would prevent BPA forming by closely monitoring temperatures and quality:
12                 [O]ur unique Votator Heat Exchangers bring chilled fresh
                   ingredients to room temperature without introducing water or
13                 steam, which enables us to add even more fresh meats into our
                   foods.
14
                   Referred to as ‘the most significant preconditioning development
15                 for extrusion cooking in the last 20 years,’ our High Intensity
                   Preconditioners were custom-built for DogStar®, feeding fresh
16                 meats from the Votators to Extruders at rates previously unheard
                   of, and without high temperatures.
17
                   At the heart of our kitchens is a twin thermal extruder which is fed
18                 fresh ingredients from our High Intensity Preconditioner.
19                 The first of its kind in North America, it took 11 months to build,
                   and features custom steam injection to enable very high fresh meat
20                 inclusions and a gentle cooking process which helps further reduce
                   the carbohydrates in our foods and preserves their natural
21                 goodness.
22          33.     Thus, Defendants engaged in deceptive advertising and labeling practices by
23   expressly warranting, claiming, stating, featuring, representing, advertising, or otherwise
24   marketing on Acana and Orijen labels and related websites that the Contaminated Dog Foods
25   are natural, fit for human consumption, fit for canine consumption, in compliance with relevant
26   EU regulations and made from “Biologically Appropriate” and “Fresh Regional Ingredients”
27



      CLASS ACTION COMPLAINT - 11
              Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 12 of 49




 1   consisting entirely of fresh meat, poultry, fish, and vegetables when they, in fact, contain the
 2   non-naturally occurring chemical BPA.
 3            34.   Based on these false representations, Defendants charge a premium, knowing
 4   that the claimed natural make-up of the Contaminated Dog Foods (as well as all of the other
 5   alleged false and/or misleading representations discussed herein) is something an average
 6   consumer would consider as a reason in picking a more expensive dog food. By negligently
 7   and/or deceptively representing, marketing, and advertising the Contaminated Dog Foods as
 8   natural, fit for human consumption, fit for canine consumption, in compliance with relevant EU
 9   regulations and standards and made from "Biologically Appropriate" and "Fresh Regional
10   Ingredients" consisting entirely of fresh meat, poultry, fish, and vegetables, Defendants
11   wrongfully capitalized on, and reaped enormous profits from, consumers’ strong preference for
12   natural pet food products.
13            35.   Plaintiff bring this action individually and on behalf of all other similarly situated
14   consumers within Washington who purchased the Contaminated Dog Foods, in order to cause
15   the disclosure of the presence of BPA that pose a known risk to both humans and animals in the
16   Contaminated Dog Foods, to correct the false and misleading perception Defendants have
17   created in the minds of consumers that the Contaminated Dog Foods are high quality, safe, and
18   healthy and to obtain redress for those who have purchased the Contaminated Dog Foods.
19                                II.     JURISDICTION AND VENUE
20            36.   This Court has original jurisdiction over all causes of action asserted herein
21   under the Class Action Fairness Act, 28 U.S.C. §1332(d)(2), because the matter in controversy
22   exceeds the sum or value of $5,000,000 exclusive of interest and costs and more than two-thirds
23   of the Class reside in states other than the states in which Defendants are citizens and in which
24   this case is filed, and therefore any exemptions to jurisdiction under 28 U.S.C. §1332(d) do not
25   apply.
26            37.   Venue is proper in this Court pursuant to 28 U.S.C. §1391, because Plaintiff
27   resides and suffered injury as a result of Defendants' acts in this district, many of the acts and



      CLASS ACTION COMPLAINT - 12
             Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 13 of 49




 1   transactions giving rise to this action occurred in this district, Defendants conduct substantial
 2   business in this district, Defendants have intentionally availed themselves of the laws and
 3   markets of this district, and Defendants are subject to personal jurisdiction in this district.
 4                                            III.    PARTIES
 5          38.     Plaintiff Holly Rydman (“Plaintiff”) is, and at all times relevant hereto has been,
 6   a citizen of the state of Washington. Plaintiff purchased the following Contaminated Dog Foods
 7   for her 3 ½-year-old and 2-year-old French Bulldogs and 2-year-old Labrador Retriever: Orijen
 8   Six Fish, ACANA Singles Duck and Pear, ACANA Singles Pork and Squash, ACANA Heritage
 9   Red Meat, ACANA Regionals Grasslands, ACANA Heritage Free-Run Poultry, and ACANA
10   Regionals Meadowland. Plaintiff purchased the Contaminated Dog Foods once a month on
11   average between approximately December 2014 and February 2018, generally from Mud Bay
12   and Fluffy & Floyd Pet Supply. Prior to purchasing the Contaminated Dog Foods, Plaintiff saw
13   the nutritional claims on the packaging, which she relied on when deciding to purchase the
14   Contaminated Dog Foods. During that time, based on the false and misleading claims,
15   warranties, representations, advertisements, and other marketing by Defendants, Plaintiff was
16   unaware that the Contaminated Dog Foods contained any level of heavy metals, chemicals, or
17   toxins and would not have purchased the food if that was fully disclosed. Plaintiff was injured
18   by paying a premium for the Contaminated Dog Foods that have no or de minimis value based
19   on the presence of the alleged heavy metals, chemicals, and toxins.
20          39.     As the result of Defendants’ negligent, reckless, and/or knowingly deceptive
21   conduct as alleged herein, Plaintiff was injured when she paid the purchase price or a price
22   premium for the Contaminated Dog Foods that did not deliver what was promised. She paid the
23   premium price on the assumption that the labeling of the Contaminated Dog Foods was accurate
24   and that it was healthy, of superior quality, natural, and safe for dogs to ingest. Plaintiff would
25   not have paid this money had she known that the Contaminated Dog Foods contained any levels
26   of heavy metals, chemicals and/or toxins. Plaintiff was further injured because the
27   Contaminated Dog Foods have no or de minimis value based on the presence of the alleged



      CLASS ACTION COMPLAINT - 13
             Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 14 of 49




 1   heavy metals, chemicals and toxins. Damages can be calculated through expert testimony at
 2   trial. Further, should Plaintiff encounter the Contaminated Dog Foods in the future, she could
 3   not rely on the truthfulness of the packaging, absent corrective changes to the packaging and
 4   advertising of the Contaminated Dog Foods.
 5          40.     Defendant Champion Petfoods USA Inc. (“Champion USA”) is incorporated in
 6   Delaware. Its headquarters and principal place of business, as of March 2016, is located at
 7   12871 Bowling Green Road, Auburn, KY 42206. Since that time, all Contaminated Pet Foods
 8   sold in the United States are manufactured, sourced and sold by Champion USA.
 9          41.     Defendant Champion Petfoods LP (“Champion Canada”) is a Canadian limited
10   partnership with its headquarters and principal place of business located at 11403-186 St NW,
11   Edmonton, Alberta T5S 2W6. Defendant Champion Canada wholly owns, operates, and/or
12   controls Defendant Champion USA. Prior to March 2016, all Contaminated Pet Foods sold in
13   the United States were manufactured, sourced and sold by Champion Canada.
14          42.     Defendants formulate, develop, manufacture, label, distribute, market, advertise,
15   and sell the Contaminated Dog Foods under the dog food brand names Orijen and Acana
16   throughout the United States, including in this District, during Class Period (defined below).
17   The advertising, labeling, and packaging for the Contaminated Dog Foods, relied upon by
18   Plaintiff, was prepared, reviewed, and/or approved by Defendants and their agents, and was
19   disseminated by Defendants and their agents through marketing, advertising, packaging, and
20   labeling that contained the misrepresentations alleged herein. The marketing, advertising,
21   packaging and labeling for the Contaminated Dog Foods was designed to encourage consumers
22   to purchase the Contaminated Dog Foods and reasonably misled the reasonable consumer, i.e.,
23   Plaintiff and the Class, into purchasing the Contaminated Dog Foods. Defendants own,
24   manufacture, and distribute the Contaminated Dog Foods, and created, allowed, negligently
25   oversaw, and/or authorized the unlawful, fraudulent, unfair, misleading, and/or deceptive
26   labeling and advertising for the Contaminated Dog Foods.
27



      CLASS ACTION COMPLAINT - 14
           Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 15 of 49




 1                            IV.   FACTUAL ALLEGATIONS
 2   A.   The Contaminated Dog Foods
 3         43.   The Contaminated Dog Foods include the following:
 4               (a)    Acana Regionals Appalachian Ranch with Ranch-Raised Red Meats &
                        Freshwater Catfish
 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17
                 (b)    Acana Regionals Grasslands with Grass-Fed Kentucky Lamb, Freshwater
18                      Trout & Game Bird
19

20

21

22

23

24

25

26

27



      CLASS ACTION COMPLAINT - 15
          Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 16 of 49




 1              (c)    Acana Regionals Meadowland with Free-Run Poultry, Freshwater Fish,
                       and Nest-Laid Eggs
 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14
                (d)    Acana Regionals Wild Atlantic with New Wild New England Fish &
15                     Fresh Kentucky Greens
16

17

18
19

20

21

22

23

24

25

26

27



     CLASS ACTION COMPLAINT - 16
          Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 17 of 49




 1              (e)    Orijen Original with Fresh Free-Run Chicken and Turkey, Wild-Caught
                       Fish and Nest-Laid Eggs
 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15              (f)    Orijen Regional Red with Angus Beef, Wild Boar, Boer Goat, Romney
                       Lamb, Yorkshire Pork & Wild Mackerel
16

17

18
19

20

21

22

23

24

25

26

27



     CLASS ACTION COMPLAINT - 17
          Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 18 of 49




 1              (g)    Orijen Regional Red Angus Beef, Ranch Raised Lamb, Wild Boar,
                       Pork, Bison Dry Dog Food
 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14
                (h)    Orijen Six Fish with New England Mackerel, Herring, Flounder, Redfish,
15                     Monkfish and Silver Hake
16

17

18
19

20

21

22

23

24

25

26

27



     CLASS ACTION COMPLAINT - 18
          Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 19 of 49




 1              (i)    Acana Singles Duck and Pear Formula Dry Dog Food
 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15              (j)    Acana Singles Lamb and Apple Formula Dry Dog Food
16

17

18
19

20

21

22

23

24

25

26

27



     CLASS ACTION COMPLAINT - 19
          Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 20 of 49




 1              (k)    Acana Heritage Free-Run Poultry Formula Dry Dog Food
 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15              (l)    Acana Heritage Freshwater Fish Formula Dry Dog Food
16

17

18
19

20

21

22

23

24

25

26

27



     CLASS ACTION COMPLAINT - 20
          Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 21 of 49




 1              (m)    Orijen Tundra Freeze Dried Venison, Elk, Bison, Quail, Steelhead
                       Trout Wet Dog Food
 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15
                (n)    Origjen Adult Dog Freeze Dried Chicken, Turkey, Wild Caught Fish,
16                     Eggs Wet Dog Food
17

18
19

20

21

22

23

24

25

26

27



     CLASS ACTION COMPLAINT - 21
          Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 22 of 49




 1              (o)    Orijen Regional Red Freeze Dried Angus Beef, Ranch Raised Lamb,
                       Wild Boar, Pork, Bison Wet Dog Food
 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16              (p)    Orijen Regional Red Angus Beef, Ranch Raised Lamb, Wild Boar, Pork,
                       Bison Dry Dog Food
17

18
19

20

21

22

23

24

25

26

27



     CLASS ACTION COMPLAINT - 22
          Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 23 of 49




 1              (q)    Orijen Six Fish Wild-Caught Regional Saltwater and Freshwater Fish
                       Dry Dog Food
 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15              (r)    Orijen Tundra Goat, Venison, Mutton, Bison, Arctic Char, Rabbit Dry
                       Dog Food
16

17

18
19

20

21

22

23

24

25

26

27



     CLASS ACTION COMPLAINT - 23
          Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 24 of 49




 1              (s)    Orijen Grain Free Puppy Chicken, Turkey, Wild-Caught Fish, Eggs,
                       Dry Dog Food
 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14              (t)    Acana Singles Mackerel and Greens Formula Dry Dog Food
15

16

17

18
19

20

21

22

23

24

25

26

27



     CLASS ACTION COMPLAINT - 24
          Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 25 of 49




 1              (u)    Acana Heritage Meats Formula Dry Dog Food
 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14              (v)    Acana Singles Pork and Squash Formula Dry Dog Food
15

16

17

18
19

20

21

22

23

24

25

26

27



     CLASS ACTION COMPLAINT - 25
             Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 26 of 49




 1   B.     Heavy Metals Create Known Risks When Ingested
 2          44.     Toxins like arsenic, mercury, cadmium and lead can cause serious illness to
 3   humans and animals. A company should be vigilant to take all reasonable steps to avoid
 4   causing family pets to ingest these toxins.
 5          45.     Arsenic is a semi-metal element in the periodic table. It is odorless and tasteless.
 6   Arsenic occurs naturally in the environment as an element of the earth's crust; it is found in
 7   rocks, soil, water, air, plants, and animals. Arsenic is combined with other elements such as
 8   oxygen, chlorine, and sulfur to form inorganic arsenic compounds. Historically, arsenic
 9   compounds were used in many industries, including: (i) as a preservative in pressure-treated
10   lumber; (ii) as a preservative in animal hides; (iii) as an additive to lead and copper for
11   hardening; (iv) in glass manufacturing; (v) in pesticides; (vi) in animal agriculture; and (vii) as
12   arsine gas to enhance junctions in semiconductors. The United States has canceled the
13   approvals of some of these uses, such as arsenic-based pesticides, for health and safety reasons.
14   Some of these cancellations were based on voluntary withdrawals by producers. For example,
15   manufacturers of arsenic-based wood preservatives voluntarily withdrew their products in 2003
16   due to safety concerns, and the EPA signed the cancellation order. In the Notice of Cancellation
17   Order, the EPA stated that it “believes that reducing the potential residential exposure to a
18   known human carcinogen is desirable.” Arsenic is an element—it does not degrade or
19   disappear.
20          46.     Inorganic arsenic is a known cause of human cancer. The association between
21   inorganic arsenic and cancer is well documented. As early as 1879, high rates of lung cancer in
22   miners from the Kingdom of Saxony were attributed, in part, to inhaled arsenic. By 1992, the
23   combination of evidence from Taiwan and elsewhere was sufficient to conclude that ingested
24   inorganic arsenic, such as is found in contaminated drinking water and food, was likely to
25   increase the incidence of several internal cancers. The scientific link to skin and lung cancers is
26   particularly strong and longstanding, and evidence supports conclusions that arsenic may cause
27   liver, bladder, kidney, and colon cancers as well.



      CLASS ACTION COMPLAINT - 26
             Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 27 of 49




 1          47.     Lead is a metallic substance formerly used as a pesticide in fruit orchards, but the
 2   use of such pesticides is now prohibited in the United States. Lead, unlike many other poisons,
 3   builds up in the body over time as the person is exposed to and ingests it, resulting in a
 4   cumulative exposure which can, over time, become toxic and seriously injurious to health. Lead
 5   poisoning can occur from ingestion of food or water containing lead. Acute or chronic exposure
 6   to material amounts of lead can lead to severe brain and kidney damage, among other issues,
 7   and ultimately cause death.
 8          48.     The FDA has set standards that regulate the maximum parts per billion of lead
 9   permissible in water: bottled water cannot contain more than 5 ppb of total lead or 10 ppb of
10   total arsenic. See 21 C.F.R. § 165.110(b)(4)(iii)(A).
11          49.     Mercury is a known toxin that creates health risks to both humans and animals.
12   The impact of the various ways humans and animals are exposed and ingest mercury has been
13   studied for years. In fact, in as early as 1997, the EPA issued a report to Congress that detailed
14   the health risks to both humans and animals.
15          50.     Based on the toxicity and risks of mercury, regulations have been enacted at both
16   the Federal and state level.
17          51.     Cadmium is likewise a known toxin that creates risk when ingested by animals or
18   humans. It has been specifically noted that “Kidney and bone effects have [] been observed in
19   laboratory animals ingesting cadmium. Anemia, liver disease, and nerve or brain damage have
20   been observed in animals eating or drinking cadmium.”
21   C.     Defendants Falsely Advertise the Contaminated Dog Foods as Nutritious, Superior
            Quality, Pure, and Healthy While Omitting Any Mention of the Heavy Metals, as
22          Well as Claim the Foods Are Natural, Pure, and Safe Despite the Inclusion of the
            Industrial Chemical BPA
23
            52.     Defendants formulate, develop, manufacture, label, package, distribute, market,
24
     advertise, and sell their extensive Acana and Orijen lines of dry and freeze-dried pet food
25
     products, including the Contaminated Dog Foods, across the United States.
26

27



      CLASS ACTION COMPLAINT - 27
             Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 28 of 49




 1          53.     Defendants tout themselves as “a leader and innovator in making pet foods,
 2   Champion works to our own standards. These are our standards, not USDA, not FDA, not
 3   CFIA. These agencies set minimum standards which we exceed exponentially. Why? Because
 4   our Mission and our Values dictate that we do, and that’s what pet lovers expect from us.”
 5          54.     In 2016, Defendants opened DogStar Kitchens, a 371,100 square foot production
 6   facility on 85 acres of land outside Bowling Green, KY. This facility has the capacity to produce
 7   up to 220 million pounds of Acana and Orijen pet food per year. The CEO of Champion Pet
 8   Foods, Frank Burdzy, said, “The US is our fastest growing market.” Prior to this facility’s
 9   construction, Defendants’ Acana and Orijen products were exclusively manufactured in Canada.
10   Since that facility began production, all Acana and Orijen foods sold in the United States are
11   manufactured at the DogStar Kitchens facility.
12          55.     Defendants have represented a commitment to using fresh and local ingredients,
13   including wild-caught fish.
14          56.     Defendants have represented that its DogStar Kitchens meet the European
15   Union's standard for pet food: “USA Dogstar kitchens, ingredients, processes and foods all meet
16   the strictest European Union standards – which are stricter those by AAFCO, the CIA or FDA.
17   Likewise, Defendants' proclaim that Orijen is "[u]nmatched by any other pet food maker
18   anywhere, our kitchens meet the strictest standards in the world, including the Government of
19   Canada, and the European Union.” Indeed, Defendants own CEO has stated that “[e]ven if
20   we’re selling in Canada or the U.S or Asia, we manufacture to the EU standard…”
21          57.     However, contrary to Defendants assertion, they do not meet European Union
22   standards for pet foods or human consumption.
23          58.     The European Parliament and the Council of the European Union state that
24   "[p]roducts intended for animal feed must be sound, genuine and of merchantable quality and
25   therefore when correctly used must not represent any danger to human health, animal health or
26   to the environment or adversely affect livestock production." The European Parliament and the
27   Council of the European Union provide maximum levels for undesirable substances in animal



      CLASS ACTION COMPLAINT - 28
             Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 29 of 49




 1   feed, such as lead, arsenic, mercury, and cadmium, and make clear that products that contain
 2   undesirable substances that exceed the specified maximum levels will be prohibited. In relevant
 3   part, subject to certain exceptions, arsenic must not exceed 2ppm (or 2000ppb). Yet, the testing
 4   results contained herein show that certain of Defendants products have exceeded the European
 5   Union's maximum level for arsenic in animal feed.
 6          59.     Defendants representation that the foods and ingredients are fit for human
 7   consumption are likewise misleading under the European Union standards.
 8          60.     Defendants warrant, claim, state, represent, advertise, label, and market their
 9   Contaminated Dog Foods as natural, fit for human consumption, fit for canine consumption, in
10   compliance with relevant EU regulations and standards and made from "Biologically
11   Appropriate" and "Fresh Regional Ingredients" consisting entirely of fresh meat, poultry, fish,
12   and vegetables; containing "only 1 supplement – zinc;" "provid[ing] a natural source of virtually
13   every nutrient your dog needs to thrive;" and "guaranteed to keep your dog healthy, happy and
14   strong." Defendants therefore had a duty to ensure that these statements were true. As such,
15   Defendants knew or should have known that the Contaminated Dog Foods included the
16   presence of heavy metals and/or BPA.
17          61.     Defendants specifically promise on their website, “[W]e prepare ACANA
18   ourselves, in our own kitchens, where we oversee every detail of food preparation — from
19   where our ingredients come from, to every cooking, quality and food safety process.” Similarly,
20   Defendants promise that their “Dogstar® Kitchens have access to a myriad of specialty family
21   farms, with whom we partner for our supply of trusted ingredients.” Finally, Defendants’
22   promise “[s]tandards that rival the human food processing industry for authenticity, nutritional
23   integrity, and food safety.” According to the Orijen and Acana websites, Defendants use
24   “feature state-of-the-art fresh food processing technologies.” As such, Defendants knew or
25   should have known that higher temperatures coupled with the type of containers used in
26   manufacturing create a real risk of BPA in their products.
27



      CLASS ACTION COMPLAINT - 29
             Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 30 of 49




 1          62.     The Contaminated Dog Foods are available at numerous retail and online outlets
 2   in the United States, including Washington.
 3          63.     The Contaminated Dog Foods are widely advertised, and Defendants employ a
 4   Chief Marketing Officer, a Vice President for Customer Engagement, and a Director of
 5   Marketing in both the United States and Canada.
 6          64.     The official websites for Acana and Orijen display the Contaminated Dog Foods;
 7   descriptions and full lists of ingredients for the Contaminated Dog Foods and include the
 8   following promises:
 9

10

11

12

13

14

15

16

17

18
19

20

21

22

23          65.     Defendants’ websites repeat the false and misleading claims, warranties,
24   representations, advertisements, and other marketing about the Contaminated Dog Foods’
25   benefits, quality, purity, and natural make-up, without any mention of the heavy metals and/or
26   BPA they contain. This is not surprising given that natural pet food sales represent over $5.5
27   billion in the United States and have consistently risen over the years.



      CLASS ACTION COMPLAINT - 30
             Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 31 of 49




 1

 2

 3

 4

 5

 6

 7

 8

 9

10          66.        Moreover, Defendants have themselves acknowledged the importance of quality
11   dog food to the reasonable consumer:
12                 “Our No. 1 mandate is BAFRINO – biologically appropriate, fresh
                   regional ingredients, never outsourced,” said Frank Burdzy,
13                 president and chief executive officer of Champion Petfoods in
                   Canada, in an interview with the Daily News Monday prior to
14                 housewarming activities outside and inside the kitchens.
15                 “We build relationships with our suppliers and farms and fisheries.
                   We are trusted by pet owners,” Burdzy said.
16
            67.        As a result of Defendants’ omissions, a reasonable consumer would have no
17
     reason to suspect the presence of heavy metals and/or BPA in the Contaminated Dog Foods
18
     without conducting his or her own scientific tests, or reviewing third-party scientific testing of
19
     these products.
20
            68.        However, after conducting third-party scientific testing, it is clear that the
21
     Contaminated Dog Foods do in fact contain levels both heavy metals and/or BPA.
22
     D.     Defendants’ Statements and Omissions Violate Washington Laws
23
            69.        Washington laws are designed to ensure that a company’s claims about its
24
     products are truthful and accurate. Defendants violated these state laws by negligently,
25
     recklessly, and/or intentionally incorrectly claiming that the Contaminated Dog Foods are pure,
26
     healthy, and safe for consumption and by not accurately detailing that the products contain toxic
27



      CLASS ACTION COMPLAINT - 31
             Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 32 of 49




 1   heavy metals and/or BPA. Defendants misrepresented that the Contaminated Dog Foods are
 2   natural, fit for human consumption, fit for canine consumption, in compliance with relevant EU
 3   regulations and made from “Biologically Appropriate” and “Fresh Regional Ingredients”
 4   consisting entirely of fresh meat, poultry, fish, and vegetables; “feature[] unmatched and unique
 5   inclusions of meat, naturally providing everything your dog or cat needs to thrive;” and are
 6   “guaranteed” to “keep your dog happy, healthy, and strong.”
 7          70.     Defendants' marketing and advertising campaign has been sufficiently lengthy in
 8   duration, and widespread in dissemination, that it would be unrealistic to require Plaintiff to
 9   plead reliance upon each advertised misrepresentation.
10          71.     Defendants have engaged in this long-term advertising campaign to convince
11   potential customers that the Contaminated Dog Foods were pure, healthy, safe for consumption,
12   and did not contain harmful ingredients such as arsenic and lead. Likewise, Defendants have
13   engaged in this long-term advertising campaign to convince potential customers that the
14   Contaminated Dog Foods are natural, pure, and safe despite the presence of BPA in the food.
15   E.     Plaintiff’ Reliance Was Reasonable and Foreseen by Defendants
16          72.     Plaintiff reasonably relied on Defendants’ own claims, warranties,
17   representations, advertisements, and other marketing concerning the particular qualities and
18   benefits of the Contaminated Dog Foods.
19          73.     Plaintiff relied upon Defendants’ false and/or misleading representations alleged
20   herein, including the websites and the Contaminated Dog Foods’ labels and packaging in
21   making her purchasing decisions.
22          74.     Any reasonable consumer would consider the labeling of a product (as well as
23   the other false and/or misleading representations alleged herein) when deciding whether to
24   purchase. Here, Plaintiff relied on the specific statements and misrepresentations by Defendants
25   that the Contaminated Dog Foods were natural, fit for human consumption, fit for canine
26   consumption, in compliance with relevant EU regulations and made from “Biologically
27   Appropriate” and “Fresh Regional Ingredients” consisting entirely of fresh meat, poultry, fish,



      CLASS ACTION COMPLAINT - 32
             Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 33 of 49




 1   and vegetables; “feature[ing] unmatched and unique inclusions of meat, naturally providing
 2   everything your dog or cat needs to thrive;” and were “guaranteed” to “keep your dog happy,
 3   healthy, and strong” with no disclosure of the inclusion of heavy metals, including arsenic or
 4   lead, and BPA.
 5   F.    Defendants’ Knowledge and Notice of Their Breaches of Their Express and Implied
           Warranties
 6
            75.     Defendants had sufficient notice of their breaches of express and implied
 7
     warranties. Defendants have, and had, exclusive knowledge of the physical and chemical
 8
     makeup of the Contaminated Dog Foods.
 9
            76.     Defendants have publicly stated on their website that they require their suppliers
10
     “provide heavy metals and mercury test results, for which we also test our final food products.”
11
     As such, they have had testing results showing the inclusion of heavy metals in the
12
     Contaminated Dog Foods.
13
            77.     Additionally, Defendants received notice of the contaminants in their products,
14
     including the Contaminated Dog Foods, through the Clean Label Project, which found higher
15
     levels of heavy metals in their products. In fact, Defendants actually responded to the Clean
16
     Label Project’s findings. Defendants spoke with the Clean Label Project by phone regarding its
17
     findings and methodology, which showed that Orijen pet foods have high levels of heavy metals
18
     compared to other pet foods. The Clean Label Project informed Defendants that it compared
19
     Orijen pet foods to competitors’ products and gave Defendants a one-star rating, meaning their
20
     foods contained higher levels of contaminants than other products on the market. Defendants’
21
     direct contact with the Clean Label Project demonstrates its knowledge about the Contaminated
22
     Dog Foods.
23
            78.     Defendants also issued a white paper in defense of the Clean Label Project
24
     findings that acknowledges that their products contain heavy metals. In that same White Paper,
25
     Defendants state “[w]e systematically test ORIJEN and ACANA products for heavy metals
26
     (arsenic, cadmium, lead and mercury) at two third-party laboratories.”
27



      CLASS ACTION COMPLAINT - 33
              Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 34 of 49




 1           79.    The White Paper discusses the sources of arsenic, cadmium, lead and mercury,
 2   and what Defendants contend to be acceptable levels of those heavy metals in pet food.
 3           80.    Defendants did not widely disseminate this White Paper or direct consumers to
 4   this White Paper. Moreover, Defendants did not change their packaging or labeling to include a
 5   disclaimer that the Contaminated Dog Foods contain any levels of the heavy metals or include a
 6   copy of the White Paper findings on the packaging or labeling. Finally, there is no disclosure as
 7   to whether the Contaminated Dog Foods tested were manufactured in the United States or
 8   Canada.
 9           81.    Defendants likewise had knowledge of the potential risk and inclusion of BPA in
10   their Contaminated Dog Foods. Defendants have publicly stated they ask their suppliers if the
11   packaging contains BPA while at the same time admitting that they in fact do not perform any
12   tests to confirm that the Contaminated Dog Foods are BPA free. Moreover, Defendants no
13   longer boast about “exceeding” regulations when asked if the Contaminated Pet Foods are BPA
14   free.
15   G.      Privity Exists with Plaintiff and the Proposed Class
16           82.    Defendants knew that consumers such as Plaintiff and the proposed Class would
17   be the end purchasers of the Contaminated Dog Foods and the target of their advertising and
18   statements.
19           83.    Defendants intended that the warranties, advertising, labeling, statements, and
20   representations would be considered by the end purchasers of the Contaminated Dog Foods,
21   including Plaintiff and the proposed Class.
22           84.    Defendants directly marketed to Plaintiff and the proposed Class through
23   statements on their website, labeling, advertising, and packaging.
24           85.    Plaintiff and the proposed Class are the intended beneficiaries of the expressed
25   and implied warranties.
26

27



      CLASS ACTION COMPLAINT - 34
             Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 35 of 49




 1                                 V.     CLASS ACTION ALLEGATIONS
 2          86.         Plaintiff bring this action individually and on behalf of the following Class
 3   pursuant to Rules 23(a) and 23(b)(2) and (3) of the Federal Rules of Civil Procedure:
 4                      All persons who are citizens of the State of Washington who, from
                        July 1, 2013, to the present, purchased the Contaminated Dog
 5                      Foods for household or business use, and not for resale (the
                        “Class”).
 6
            87.         Excluded from the Class are the Defendants, any parent companies, subsidiaries,
 7
     and/or affiliates, officers, directors, legal representatives, employees, co-conspirators, all
 8
     governmental entities, and any judge, justice, or judicial officer presiding over this matter.
 9
            88.         This action is brought and may be properly maintained as a class action. There is
10
     a well-defined community of interests in this litigation and the members of the Class are easily
11
     ascertainable.
12
            89.         The members in the proposed Class are so numerous that individual joinder of all
13
     members is impracticable, and the disposition of the claims of the members of all Class
14
     members in a single action will provide substantial benefits to the parties and Court.
15
            90.         Questions of law and fact common to Plaintiff and the Class include, but are not
16
     limited to, the following:
17
                  (a) whether Defendants owed a duty of care to Plaintiff and the Class;
18
                  (b) whether Defendants knew or should have known that the Contaminated Dog
19                    Foods contained heavy metals;
20                (c) whether Defendants knew or should have known that the Contaminated Dog
                      Foods contained BPA;
21
                  (d) whether Defendants wrongfully represented and continue to represent that the
22                    Contaminated Dog Foods are natural, fit for human consumption, fit for canine
                      consumption, in compliance with relevant EU regulations and made from
23                    “Biologically Appropriate” and “Fresh Regional Ingredients” consisting
                      entirely of fresh meat, poultry, fish, and vegetables;
24
                  (e) whether Defendants wrongfully represented and continue to represent that the
25                    Contaminated Dog Foods are healthy, superior quality, nutritious and safe for
                      consumption;
26
                  (f)    whether Defendants wrongfully represented and continue to represent that the
27                       Contaminated Dog Foods are natural;



      CLASS ACTION COMPLAINT - 35
             Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 36 of 49



                  (g) whether Defendants wrongfully represented and continue to represent that the
 1                    Contaminated Dog Foods are pure and safe;
 2                (h) whether Defendants wrongfully represented and continue to represent that the
                      manufacturing of the Contaminated Dog Foods is subjected to rigorous
 3                    standards, including temperature;
 4                (i)    whether Defendants wrongfully failed to state that the Contaminated Dog Foods
                         contained heavy metals and/or BPA;
 5
                  (j)    whether Defendants’ representations in advertising, warranties, packaging,
 6                       and/or labeling are false, deceptive, and misleading;
 7                (k) whether those representations are likely to deceive a reasonable consumer;
 8                (l)    whether a reasonable consumer would consider the presence of heavy metals
                         and/or BPA as a material fact in purchasing pet food;
 9
                  (m) whether Defendants had knowledge that those representations were false,
10                    deceptive, and misleading;
11                (n) whether Defendants continue to disseminate those representations despite
                      knowledge that the representations are false, deceptive, and misleading;
12
                  (o) whether a representation that a product is healthy, superior quality, nutritious
13                    and safe for consumption and does not contain arsenic and/or lead is material to
                      a reasonable consumer;
14
                  (p) whether Defendants’ representations and descriptions on the labeling of the
15                    Contaminated Dog Foods are likely to mislead, deceive, confuse, or confound
                      consumers acting reasonably;
16
                  (q) whether Defendants violated various state laws, including Washington;
17
                  (r)    whether Defendants breached their express warranties;
18
                  (s) whether Defendants breached their implied warranties;
19
                  (t)    whether Defendants engaged in unfair trade practices;
20
                  (u) whether Defendants engaged in false advertising;
21
                  (v) whether Defendants made negligent and/or fraudulent misrepresentations and/or
22                    omissions;
23                (w) whether Plaintiff and the members of the Class are entitled to actual, statutory,
                      and punitive damages; and
24
                  (x) whether Plaintiff and members of the Class are entitled to declaratory and
25                    injunctive relief.
26          91.         Defendants engaged in a common course of conduct giving rise to the legal rights
27   sought to be enforced by Plaintiff individually and on behalf of the other members of the Class.



      CLASS ACTION COMPLAINT - 36
             Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 37 of 49




 1   Identical statutory violations and business practices and harms are involved. Individual
 2   questions, if any, are not prevalent in comparison to the numerous common questions that
 3   dominate this action.
 4          92.      Plaintiff’s claims are typical of those of the members of the Class in that they are
 5   based on the same underlying facts, events, and circumstances relating to Defendants’ conduct.
 6          93.      Plaintiff will fairly and adequately represent and protect the interests of the Class,
 7   have no interest incompatible with the interests of the Class, and have retained counsel
 8   competent and experienced in class action, consumer protection, and false advertising litigation.
 9          94.      Class treatment is superior to other options for resolution of the controversy
10   because the relief sought for each member of the Class is small such that, absent representative
11   litigation, it would be infeasible for members of the Class to redress the wrongs done to them.
12          95.      Questions of law and fact common to the Class predominate over any questions
13   affecting only individual members of the Class.
14          96.      As a result of the foregoing, class treatment is appropriate.
15                                    VI.     CLAIMS FOR RELIEF
16                                             COUNT I
                            Breach of Express Warranty, RCW § 62A.2-313,
17                        against Defendant on Behalf of Plaintiff and the Class
18          97.      Plaintiff incorporates by reference and realleges each and every allegation
19   contained in the preceding paragraphs, as though fully set forth herein.
20          98.      Defendants marketed and sold their Contaminated Dog Foods in to the stream of
21   commerce with the intent that they would be purchased by Plaintiff and members of the Class.
22                (a) Defendants expressly warranted, advertised, and represented to Plaintiff and the
23                (b) Class that their Contaminated Dog Foods are:
24                (c) natural, fit for human consumption, fit for canine consumption, in compliance
                      with relevant EU regulations and made from “Biologically Appropriate” and
25                    “Fresh Regional Ingredients” consisting entirely of fresh meat, poultry, fish, and
                      vegetables;
26
                  (d) contain “only 1 supplement – zinc;”
27



      CLASS ACTION COMPLAINT - 37
             Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 38 of 49



                  (e) nutritious, superior quality, pure, natural, healthy and safe for consumption;
 1
                  (f)    “provid[e] a natural source of virtually every nutrient your dog needs to thrive;”
 2
                  (g) “guaranteed to keep your dog healthy, happy and strong”; and
 3
                  (h) produced and manufactured under standards that comply with European Union
 4                    regulations.
 5          99.         Defendants made these express warranties regarding the Contaminated Dog
 6   Foods’ quality, ingredients, and fitness for consumption in writing through their website,
 7   advertisements, and marketing materials and on the Contaminated Dog Foods’ packaging and
 8   labels. These express warranties became part of the basis of the bargain Plaintiff and the Class
 9   entered in to upon purchasing the Contaminated Dog Foods.
10          100.        Defendants’ advertisements, warranties, and representations were made in
11   connection with the sale of the Contaminated Dog Foods to Plaintiff and the Class. Plaintiff and
12   the Class relied on Defendants’ advertisements, warranties, and representations regarding the
13   Contaminated Dog Foods when deciding whether to purchase Defendants’ products.
14          101.        Defendants’ Contaminated Dog Foods do not conform to Defendants’
15   advertisements, warranties and representations in that they:
16                (a) Are not natural or safe for consumption by humans or canines;
17                (b) Contain levels of various heavy metals;
18                (c) Contain levels of BPA; and
19                (d) Fall below European Union standards for animal feed and/or are not certified as
                      European Union-compliant in the United States.
20
            102.        Defendants were on notice of this breach as they were aware of the included
21
     heavy metals and/or BPA in the Contaminated Dog Foods and based on the public investigation
22
     by the Clean Label Product that showed their products contain heavy metals and/or BPA.
23
            103.        Privity exists because Defendants expressly warranted to Plaintiff and the Class
24
     that the Contaminated Dog Foods were natural, suitable for consumption, and guaranteed to
25
     keep their dogs healthy, happy, and strong.
26

27



      CLASS ACTION COMPLAINT - 38
              Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 39 of 49




 1            104.     As a direct and proximate result of Defendants’ conduct, Plaintiff and the Class
 2   have suffered actual damages in that they purchased Contaminated Dog Foods that are worth
 3   less than the price they paid and that they would not have purchased at all had they known of the
 4   presence of heavy metals and/or BPA.
 5            105.     Plaintiff and the Class seek actual damages, injunctive and declaratory relief,
 6   attorneys’ fees, costs, and any other just and proper relief available thereunder for Defendants’
 7   failure to deliver goods conforming to their express warranties and resulting breach.
 8                                              COUNT II
                     Breach of Implied Warranty of Merchantability, RCW § 62A.2-314,
 9                    against Defendant on Behalf of Plaintiff and the Washington Class
10            106.     Plaintiff incorporates by reference and realleges each and every allegation
11   contained in the preceding paragraphs, as though fully set forth herein.
12            107.     Defendants are merchants engaging in the sale of goods to Plaintiff and the
13   Class.
14            108.     There was a sale of goods from Defendants to Plaintiff and the members of the
15   Class.
16            109.     At all times mentioned herein, Defendants manufactured or supplied the
17   Contaminated Dog Foods. Prior to the time the Contaminated Dog Foods were purchased by
18   Plaintiff and the members of the Class, Defendants impliedly warranted to them that the
19   Contaminated Dog Foods were of merchantable quality and conformed to the promises and
20   affirmations of fact made on the Contaminated Dog Foods’ containers and labels, including that
21   the food was:
22               (a) natural, fit for human consumption, fit for canine consumption, in compliance
                     with relevant EU regulations and made from “Biologically Appropriate” and
23                   “Fresh Regional Ingredients” consisting entirely of fresh meat, poultry, fish,
                     and vegetables;
24
                 (b) contain “only 1 supplement – zinc;”
25
                 (c) nutritious, superior quality, pure, natural, healthy and safe for consumption;
26
                 (d) “provid[e] a natural source of virtually every nutrient your dog needs to thrive;”
27                   and



      CLASS ACTION COMPLAINT - 39
             Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 40 of 49



                (e) “guaranteed to keep your dog healthy, happy and strong.”
 1
            110.    Plaintiff and the Class relied on Defendants’ promises and affirmations of fact
 2
     when they purchased the Contaminated Dog Foods.
 3
            111.    The Contaminated Dog Foods were not fit for their ordinary use, consumption by
 4
     dogs, as they contained heavy metals and/or BPA at material levels to a reasonable consumer.
 5
            112.    The Contaminated Dog Foods that Defendants delivered to Plaintiff and the
 6
     Class did not conform to Defendants’ affirmations of fact because they contained heavy metals.
 7
            113.    The Contaminated Dog Foods that Defendants delivered to Plaintiff and the
 8
     Class also did not conform to affirmations of fact that they were natural because they contained
 9
     the industrial chemical BPA.
10
            114.    Defendants breached the implied warranties by selling the Contaminated Dog
11
     Foods that failed to conform to the promises or affirmations of fact made on the container or
12
     label as each product contained heavy metals and BPA.
13
            115.    Defendants were on notice of this breach as they were aware of the heavy metals
14
     and BPA included in the Contaminated Dog Foods and based on the public investigation by the
15
     Clean Label Product that showed their products contain heavy metals and BPA.
16
            116.    Privity exists because Defendants impliedly warranted to Plaintiff and the Class
17
     through the warranting, packaging, advertising, marketing, and labeling that the Contaminated
18
     Dog Foods healthy, natural, and suitable for consumption and by failing to mention the presence
19
     of heavy metals or BPA.
20
            117.    As a direct and proximate result of Defendants’ conduct, Plaintiff and the Class
21
     have suffered actual damages in that they have purchased Contaminated Dog Foods that is
22
     worth less than the price they paid and that they would not have purchased at all had they
23
     known of the presence of heavy metals and/or BPA.
24
            118.    Plaintiff and the Class seek actual damages, injunctive and declaratory relief,
25
     attorneys’ fees, costs, and any other just and proper relief available thereunder for Defendants’
26
     failure to deliver goods conforming to their implied warranties and resulting breach.
27



      CLASS ACTION COMPLAINT - 40
             Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 41 of 49



                                           COUNT III
 1      Negligent Misrepresentation against Defendants on Behalf of Plaintiff and the Class
 2          119.    Plaintiff incorporates by reference and realleges each and every allegation
 3   contained in the preceding paragraphs, as though fully set forth herein.
 4          120.    Defendants had a duty to Plaintiff and the Class to exercise reasonable and
 5   ordinary care in the formulation, testing, formulation, manufacture, marketing, distribution, and
 6   sale of the Contaminated Dog Foods.
 7          121.    Defendants breached their duty to Plaintiff and the Class by formulating, testing,
 8   manufacturing, advertising, marketing, distributing, and selling products to Plaintiff that did not
 9   have the ingredients, qualities, characteristics, and suitability for consumption as advertised by
10   Defendants and by failing to promptly remove the Contaminated Dog Foods from the
11   marketplace or to take other appropriate remedial action.
12          122.    Defendants knew or should have known that the ingredients, qualities, and
13   characteristics of the Contaminated Dog Foods were not as advertised or suitable for their
14   intended use, consumption by dogs, and were otherwise not as warranted and represented by
15   Defendants. Specifically, Defendants knew or should have known that: (1) the certain of the
16   Contaminated Dog Foods were not natural because they contained levels of the BPA; (2) the
17   Contaminated Dog Foods were not nutritious, superior quality, pure, natural, healthy and safe
18   for consumption because they contained high levels of heavy metals; and (3) and the
19   Contaminated Dog Foods were otherwise not as warranted and represented by Defendants. As
20   such, Defendants failed to exercise reasonable care or competence.
21          123.    Plaintiff and the Class did in fact rely on these misrepresentations and purchased
22   the Contaminated Dog Foods to their detriment. Given the negligent manner in which
23   Defendants advertised, represented and otherwise promoted the Contaminated Dog Foods,
24   Plaintiff and the Class’ reliance on Defendants’ misrepresentations was justifiable.
25          124.    As a direct and proximate result of Defendants’ conduct, Plaintiff and the Class
26   have suffered actual damages in that they purchased Contaminated Dog Foods that were worth
27



      CLASS ACTION COMPLAINT - 41
              Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 42 of 49




 1   less than the price they paid and that they would not have purchased at all had they known they
 2   contained heavy metals and/or BPA.
 3            125.     Plaintiff and the Class seek actual damages, injunctive and declaratory relief,
 4   attorneys’ fees, costs, and any other just and proper relief available.
 5                                        COUNT IV
       Fraudulent Misrepresentation against Defendants on Behalf of Plaintiff and the Class
 6
              126.     Plaintiff incorporates by reference and realleges each and every allegation
 7
     contained above, as though fully set forth herein.
 8
              127.     Defendants falsely represented to Plaintiff and the Class that their Contaminated
 9
     Dog Foods are:
10
                 (a) natural, fit for human consumption, fit for canine consumption, in compliance
11                   with relevant EU regulations and made from “Biologically Appropriate” and
                     “Fresh Regional Ingredients” consisting entirely of fresh meat, poultry, fish,
12                   and vegetables;
13               (b) contain “only 1 supplement – zinc;”
14               (c) nutritious, superior quality, pure, natural, healthy and safe for consumption;
15               (d) “provid[e] a natural source of virtually every nutrient your dog needs to thrive;”
16               (e) “guaranteed to keep your dog healthy, happy and strong”; and
17               (f)    compliant with European Union standards for animal feed.
18            128.     These false representations were material to Plaintiff and the Class.
19            129.     Defendants intentionally and knowingly made these misrepresentations to induce
20   Plaintiff and the Class to purchase their Contaminated Dog Foods.
21            130.     Defendants knew that their representations about the Contaminated Dog Foods
22   were false in that the Contaminated Dog Foods contain levels of heavy metals and/or BPA as
23   well as chemical ingredients. Defendants allowed their packaging, labels, advertisements,
24   promotional materials, and website to intentionally mislead consumers, such as Plaintiff and the
25   Class.
26            131.     Plaintiff and the Class were ignorant of the falsity of the representations made by
27   Defendants about the Contaminated Dog Foods.



      CLASS ACTION COMPLAINT - 42
             Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 43 of 49




 1          132.    Plaintiff and the Class did in fact rely on the truth of these misrepresentations and
 2   purchased the Contaminated Dog Foods to their detriment. Given the deceptive manner in
 3   which Defendants advertised, represented and otherwise promoted the Contaminated Dog
 4   Foods, Plaintiff and the Class’ reliance on Defendants’ misrepresentations was justifiable.
 5          133.    As a direct and proximate result of Defendants’ conduct, Plaintiff and the Class
 6   have suffered actual damages in that they have purchased Contaminated Dog Foods that is
 7   worth less than the price they paid and that they would not have purchased at all had they
 8   known of the presence of heavy metals and/or BPA.
 9          134.    Plaintiff and the Class seek actual damages, injunctive and declaratory relief,
10   attorneys’ fees, costs, and any other just and proper relief available under the laws.
11                                         COUNT V
        Violations of Washington's Unfair Business Practices and Consumer Protection Act,
12                        RCW § 19.86.010, Et Seq., against Defendants
                               on Behalf of Plaintiff and the Class
13

14          135.    Plaintiff incorporates by reference and realleges each and every allegation
15   contained in the preceding paragraphs, as though fully set forth herein.
16          136.    This is an action for relief under the Washington Unfair Business Practices and
17   Consumer Protection Act, RCW § 19.86.010, et seq. (the "CPA").
18          137.    Defendants, Plaintiff, and each Class member are each a "person," as that term is
19   defined in RCW § 19.86.010(1).
20          138.    Defendants are engaged in "trade" or "commerce" under RCW § 19.86.010(2).
21          139.    The CPA states that “[u]nfair methods of competition and unfair or deceptive
22   acts or practices in the conduct of any trade or commerce are hereby declared unlawful.” RCW
23   § 19.86.020.
24          140.    Defendants have engaged in unfair competition and unfair, unlawful, deceptive
25   or fraudulent business practices by the practices described above, and by knowingly,
26   intentionally and/or negligently concealing from Plaintiff and the Class the fact that the
27   Contaminated Dog Foods contained heavy metals and/or BPA, which was not readily



      CLASS ACTION COMPLAINT - 43
             Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 44 of 49




 1   discoverable. Defendants should have disclosed this information because it was in a superior
 2   position to know the true facts related true make-up and ingredients of the Contaminated Dog
 3   Foods, and Plaintiff and the Class could not reasonably be expected to learn or discover the true
 4   facts related to nutritional make-up, ingredients and/or quality of the Contaminated Dog Foods.
 5          141.    The unconscionable, illegal, unfair and deceptive acts and practices of
 6   Defendants adversely impact the public interest, have injured Plaintiff and members of the Class
 7   and have the capacity to injure other persons, in violation of the CPA.
 8          142.    Pursuant to RCW § 19.86.095, Plaintiff will serve the Washington Attorney
 9   General with a copy of this complaint as Plaintiff and the Class members seek injunctive relief.
10          143.    As a direct and proximate result of Defendants' conduct, Plaintiff and the Class
11   have been damaged in an amount to be proven at trial, which shall include, but is not limited to,
12   all compensatory damages, incidental and consequential damages, attorneys’ fees, costs, treble
13   damages, and other damages allowed by law.
14                                        COUNT VI
            Fraudulent Omission against Defendants on Behalf of Plaintiff and the Class
15
            144.    Plaintiff incorporates by reference and realleges each and every allegation
16
     contained in the preceding paragraphs, as though fully set forth herein.
17
            145.    Defendants concealed from and failed to disclose to Plaintiff and the Class that
18
     their Contaminated Dog Foods contained heavy metals and/or BPA.
19
            146.    Defendants were under a duty to disclose to Plaintiff and members of the Class
20
     the true quality, characteristics, ingredients, and suitability for consumption of the Contaminated
21
     Dog Foods because: (1) Defendants were in a superior position to know the true state of facts
22
     about their product; (2) Defendants were in a superior position to know the actual ingredients,
23
     characteristics, and suitability of the Contaminated Dog Foods; and (3) Defendants knew that
24
     Plaintiff and the Class could not reasonably have been expected to learn or discover that the
25
     Contaminated Dog Foods were misrepresented in the packaging, labels, advertising, and website
26
     prior to purchasing the Contaminated Dog Foods.
27



      CLASS ACTION COMPLAINT - 44
             Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 45 of 49




 1          147.    The facts concealed or not disclosed by Defendants to Plaintiff and the Class are
 2   material in that a reasonable consumer would have considered them important when deciding
 3   whether to purchase the Contaminated Dog Foods.
 4          148.    Plaintiff and the Class justifiably relied on the omissions of Defendants to their
 5   detriment. The detriment is evident from the true quality, characteristics, and ingredients of the
 6   Contaminated Dog Foods, which is inferior than advertised and represented by Defendants.
 7          149.    As a direct and proximate result of Defendants’ conduct, Plaintiff and the Class
 8   have suffered actual damages in that they have purchased Contaminated Dog Foods that is
 9   worth less than the price they paid and that they would not have purchased at all had they
10   known of the presence of heavy metals and/or BPA.
11          150.    Plaintiff and the Class seek actual damages, injunctive and declaratory relief,
12   attorneys’ fees, costs, and any other just and proper relief available under the laws.
13                                         COUNT VII
              Unjust Enrichment against Defendants on Behalf of Plaintiff and the Class
14
            151.    Plaintiff incorporates by reference and realleges each and every allegation
15
     contained contained in the preceding paragraphs, as though fully set forth herein.
16
            152.    Substantial benefits have been conferred on Defendants by Plaintiff and the Class
17
     through the purchase of the Contaminated Dog Foods. Defendants knowingly and willingly
18
     accepted and enjoyed these benefits.
19
            153.    Defendants either knew or should have known that the payments rendered by
20
     Plaintiff were given and received with the expectation that the Contaminated Dog Foods would
21
     have the qualities, characteristics, ingredients, and suitability for consumption represented and
22
     warranted by Defendants. As such, it would be inequitable for Defendants to retain the benefit
23
     of the payments under these circumstances.
24
            154.    Defendants’ acceptance and retention of these benefits under the circumstances
25
     alleged herein make it inequitable for Defendants to retain the benefits without payment of the
26
     value to Plaintiff and the Class.
27



      CLASS ACTION COMPLAINT - 45
             Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 46 of 49




 1          155.    Plaintiff and the Class are entitled to recover from Defendants all amounts
 2   wrongfully collected and improperly retained by Defendants, plus interest thereon.
 3          156.    Plaintiff and the Class seek actual damages, injunctive and declaratory relief,
 4   attorneys’ fees, costs, and any other just and proper relief available under the laws.
 5                                   VII.    PRAYER FOR RELIEF
 6          WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, pray
 7   for judgment against Defendants as to each and every count, including:
 8          A.      An order declaring this action to be a proper class action, appointing Plaintiff and
 9   their counsel to represent the Class, and requiring Defendants to bear the costs of class notice;
10          B.      An order enjoining Defendants from selling the Contaminated Dog Foods until
11   the levels of heavy metals and/or BPA are removed or full disclosure of the presence of such
12   appear on all labels, packaging and advertising;
13          C.      An order enjoining Defendants from selling the Contaminated Dog Foods in any
14   manner suggesting or implying that they are healthy, natural, and safe for consumption;
15          D.      An order requiring Defendants to engage in a corrective advertising campaign
16   and engage in any further necessary affirmative injunctive relief, such as recalling existing
17   products;
18          E.      An order awarding declaratory relief, and any further retrospective or prospective
19   injunctive relief permitted by law or equity, including enjoining Defendants from continuing the
20   unlawful practices alleged herein, and injunctive relief to remedy Defendants' past conduct;
21          F.      An order requiring Defendants to pay restitution to restore all funds acquired by
22   means of any act or practice declared by this Court to be an unlawful, unfair, or fraudulent
23   business act or practice, untrue or misleading advertising, or a violation of Washington law, plus
24   pre- and post-judgment interest thereon;
25          G.      An order requiring Defendants to disgorge or return all monies, revenues, and
26   profits obtained by means of any wrongful or unlawful act or practice;
27



      CLASS ACTION COMPLAINT - 46
             Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 47 of 49




 1          H.      An order requiring Defendants to pay all actual and statutory damages permitted
 2   under the counts alleged herein;
 3          I.      An order requiring Defendants to pay treble damages pursuant to the Washington
 4   CPA;
 5          J.      An order requiring Defendants to pay punitive damages on any count so
 6   allowable;
 7          K.      An order awarding attorneys’ fees and costs, including the costs of pre-suit
 8   investigation, to Plaintiff and the Class; and
 9          L.      An order providing for all other such equitable relief as may be just and proper.
10                                        VIII. JURY DEMAND
11          Plaintiff hereby demands a trial by jury on all issues so triable.
12

13          DATED: October 26, 2018.
14                                                    BRESKIN JOHNSON TOWNSEND, PLLC
15                                                    By:     s/Brendan W. Donckers
                                                            Brendan W. Donckers, WSBA #39406
16
                                                      By:      s/Roger Townsend
17                                                          Roger Townsend, WSBA #25525
                                                            1000 Second Avenue, Suite 3670
18                                                          Seattle, WA 98104
                                                            Tel: (206)652-8660
19                                                          bdonckers@bjtlegal.com
                                                            rtownsend@bjtlegal.com
20

21                                                    LOCKRIDGE GRINDAL NAUEN P.L.L.P.
22                                                    Robert K. Shelquist
                                                      Rebecca A. Peterson (241858)
23                                                    100 Washington Avenue South, Suite 2200
                                                      Minneapolis, MN 55401
24                                                    Telephone: (612) 339-6900
                                                      rkshelquist@locklaw.com
25                                                    rapeterson@locklaw.com
26

27



      CLASS ACTION COMPLAINT - 47
          Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 48 of 49



                                       ROBBINS ARROYO LLP
 1
                                       Kevin A. Seely (199982)
 2                                     Steven M. McKany (271405)
                                       600 B Street, Suite 1900
 3                                     San Diego, CA 92101
                                       Telephone: (619) 525-3990
 4                                     kseely@robbinsarroyo.com
                                       smckany@robbinsarroyo.com
 5
                                       GUSTAFSON GLUEK, PLLC
 6
                                       Daniel E. Gustafson
 7                                     Karla M. Gluek
                                       Joseph C. Bourne (308196)
 8                                     Raina C. Borrelli
                                       Canadian Pacific Plaza
 9                                     120 South 6th Street, Suite 2600
                                       Minneapolis, MN 55402
10                                     Telephone: (612) 333-8844
                                       dgustafson@gustafsongluek.com
11                                     kgluek@gustafsongluek.com
                                       jbourne@gustafsongluek.com
12                                     rborrelli@gustafsongluek.com
13                                     CUNEO GILBERT & LADUCA, LLP
14                                     Charles Laduca
                                       Katherine Van Dyck
15                                     4725 Wisconsin Ave NW, Suite 200
                                       Washington, DC 20016
16                                     Telephone: 202-789-3960
                                       kvandyck@cuneolaw.com
17                                     charles@cuneolaw.com
18                                     LITE DEPALMA GREENBERG, LLC
19                                     Joseph Depalma
                                       Susana Cruz Hodge
20                                     570 Broad Street, Suite 1201
                                       Newark, NJ 07102
21                                     Telephone: (973) 623-3000
                                       jdepalma@litedepalma.com
22                                     scruzhodge@litedepalma.com
23                                     ANDREWS DEVALERIO LLP
24                                     Glen Devalerio
                                       Daryl Andrews
25                                     265 Franklin Street, Suite 1702
                                       Boston, MA 02110
26                                     Telephone: (617) 936-2796
                                       glen@andrewsdevalerio.com
27                                     daryl@andrewsdevalerio.com



     CLASS ACTION COMPLAINT - 48
          Case 2:18-cv-01578-RSM Document 1 Filed 10/26/18 Page 49 of 49




 1                                     POMERANTZ LLP
 2                                     Gustavo F. Bruckner
                                       Samuel J. Adams
 3                                     600 Third Avenue
                                       New York, New York 10016
 4                                     Telephone: (212) 661-1100
                                       gfbruckner@pomlaw.com
 5                                     sjadams@pomlaw.com
 6                                     Attorneys for Plaintiffs
 7

 8

 9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27



     CLASS ACTION COMPLAINT - 49
